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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      BEAUMONT DIVISION

 PERCY TWAIN BARBER and MARIA                     §
 BARBER,                                          §
                                                  §
               Plaintiffs,                        §
 v.                                               §       CIVIL ACTION NO. 1:21-CV-00539
                                                  §        JUDGE MICHAEL J. TRUNCALE
 LAW OFFICES OF THOMAS J.                         §
 BURBANK and THOMAS J. BURBANK,                   §
               Defendants.                        §

                                       FINAL JUDGMENT

         On November 28, 2022, the Court entered an Order Adopting the Magistrate Judge’s

  Report and Recommendation. [Dkt. 62]. The Order adopted Magistrate Judge Christine Stetson’s

  recommendation to dismiss all claims against Defendants, S.D.B. Development, L.P., and Stephen

  D. Brown. In accordance with the Court’s Order Adopting the Magistrate Judge’s Report and

  Recommendation, [Dkt. 62], it is:

         ORDERED, ADJUDGED, AND DECREED that the Court hereby RENDERS

  JUDGMENT AGAINST Plaintiffs, Percy Twain Barber and Maria Barber, as to all claims

  Plaintiffs asserted, or could have asserted, against Defendants, S.D.B. Development, L.P. and

  Stephen D. Brown in this lawsuit.

         From August 7, 2023, to August 8, 2023, the Court conducted a jury trial in this matter. In

  accordance with the jury verdict rendered on August 8, 2023, [Dkt. 148], it is:

         ORDERED, ADJUDGED, AND DECREED that the Court hereby RENDERS

  JUDGMENT AGAINST Plaintiffs, Percy Twain Barber and Maria Barber, as to all claims

  Plaintiffs asserted, or could have asserted, against Defendants, Law Offices of Thomas J. Burbank

  and Thomas J. Burbank, in this lawsuit.
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         ORDERED, ADJUDGED, AND DECREED that Plaintiffs take nothing on their claims

  and that all costs of suit are taxed against the party incurring the same.

         THIS IS A FINAL JUDGMENT. All relief not previously granted is hereby DENIED.

  The Clerk of the Court is INSTRUCTED to close this case.

         IT IS SO ORDERED.


                                SIGNED this 12th day of September, 2023.




                                                               ____________________________
                                                               Michael J. Truncale
                                                               United States District Judge




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